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                      EXHIBIT 4
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                                   Revenue for August 2, 2022 Video URL
                                     (yYb5ZdzKG00.YouTube.Revenue)
Records obtained from Google (produced in native format on March 9, 2023)
Date                 Description           Amount (USD)
           8/2/2022 Earnings ‐ YouTube     $          47.94
           8/2/2022 Earnings ‐ YouTube     $          35.66
           8/2/2022 Earnings ‐ YouTube     $         453.60
           8/3/2022 Earnings ‐ YouTube     $          12.47
           8/3/2022 Earnings ‐ YouTube     $           8.51
           8/4/2022 Earnings ‐ YouTube     $          12.62
           8/4/2022 Earnings ‐ YouTube     $           2.67
           8/5/2022 Earnings ‐ YouTube     $           9.06
           8/5/2022 Earnings ‐ YouTube     $           1.29
           8/6/2022 Earnings ‐ YouTube     $           5.70
           8/6/2022 Earnings ‐ YouTube     $           1.05
           8/7/2022 Earnings ‐ YouTube     $           5.04
           8/7/2022 Earnings ‐ YouTube     $           1.39
           8/8/2022 Earnings ‐ YouTube     $           5.01
           8/8/2022 Earnings ‐ YouTube     $           1.42
           8/9/2022 Earnings ‐ YouTube     $           2.16
           8/9/2022 Earnings ‐ YouTube     $           0.77
          8/10/2022 Earnings ‐ YouTube     $           1.97
          8/10/2022 Earnings ‐ YouTube     $           0.51
          8/11/2022 Earnings ‐ YouTube     $           1.56
          8/11/2022 Earnings ‐ YouTube     $           0.41
          8/12/2022 Earnings ‐ YouTube     $           1.18
          8/12/2022 Earnings ‐ YouTube     $           0.44
          8/13/2022 Earnings ‐ YouTube     $           0.87
          8/13/2022 Earnings ‐ YouTube     $           0.08
          8/14/2022 Earnings ‐ YouTube     $           2.10
          8/14/2022 Earnings ‐ YouTube     $           0.64
          8/15/2022 Earnings ‐ YouTube     $           0.65
          8/15/2022 Earnings ‐ YouTube     $           0.24
          8/16/2022 Earnings ‐ YouTube     $           0.60
          8/16/2022 Earnings ‐ YouTube     $           0.13
          8/17/2022 Earnings ‐ YouTube     $           0.61
          8/17/2022 Earnings ‐ YouTube     $           0.10
          8/18/2022 Earnings ‐ YouTube     $           0.42
          8/18/2022 Earnings ‐ YouTube     $           0.02
          8/19/2022 Earnings ‐ YouTube     $           0.59
          8/19/2022 Earnings ‐ YouTube     $           0.08
          8/20/2022 Earnings ‐ YouTube     $           0.18
          8/20/2022 Earnings ‐ YouTube     $           0.09
          8/21/2022 Earnings ‐ YouTube     $           0.38
          8/21/2022 Earnings ‐ YouTube     $           0.13
          8/22/2022 Earnings ‐ YouTube     $           0.54
          8/22/2022 Earnings ‐ YouTube     $           0.03
          8/23/2022 Earnings ‐ YouTube     $           0.56
          8/23/2022 Earnings ‐ YouTube     $           0.03
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                                      7
                               Revenue for August 2, 2022 Video URL
                                 (yYb5ZdzKG00.YouTube.Revenue)
Date             Description          Amount (USD)
       8/24/2022 Earnings ‐ YouTube   $         0.29
       8/24/2022 Earnings ‐ YouTube   $         0.02
       8/25/2022 Earnings ‐ YouTube   $         0.31
       8/25/2022 Earnings ‐ YouTube   $         0.11
       8/26/2022 Earnings ‐ YouTube   $         0.53
       8/26/2022 Earnings ‐ YouTube   $         0.13
       8/27/2022 Earnings ‐ YouTube   $         0.19
       8/27/2022 Earnings ‐ YouTube   $         0.12
       8/28/2022 Earnings ‐ YouTube   $         0.31
       8/28/2022 Earnings ‐ YouTube   $         0.02
       8/29/2022 Earnings ‐ YouTube   $         0.70
       8/29/2022 Earnings ‐ YouTube   $         0.16
       8/30/2022 Earnings ‐ YouTube   $         0.61
       8/30/2022 Earnings ‐ YouTube   $         0.10
       8/31/2022 Earnings ‐ YouTube   $         0.38
       8/31/2022 Earnings ‐ YouTube   $         0.30
        9/1/2022 Earnings ‐ YouTube   $         0.49
        9/1/2022 Earnings ‐ YouTube   $         0.04
        9/1/2022 Earnings ‐ YouTube   $         1.40
        9/2/2022 Earnings ‐ YouTube   $         0.43
        9/2/2022 Earnings ‐ YouTube   $         0.02
        9/2/2022 Earnings ‐ YouTube   $        14.79
        9/3/2022 Earnings ‐ YouTube   $         0.42
        9/3/2022 Earnings ‐ YouTube   $         0.19
        9/4/2022 Earnings ‐ YouTube   $         0.44
        9/4/2022 Earnings ‐ YouTube   $         0.39
        9/5/2022 Earnings ‐ YouTube   $         0.61
        9/5/2022 Earnings ‐ YouTube   $         0.06
        9/6/2022 Earnings ‐ YouTube   $         0.68
        9/6/2022 Earnings ‐ YouTube   $         0.13
        9/7/2022 Earnings ‐ YouTube   $         0.58
        9/7/2022 Earnings ‐ YouTube   $         0.12
        9/8/2022 Earnings ‐ YouTube   $         0.75
        9/8/2022 Earnings ‐ YouTube   $         0.08
        9/9/2022 Earnings ‐ YouTube   $         0.32
        9/9/2022 Earnings ‐ YouTube   $         0.07
       9/10/2022 Earnings ‐ YouTube   $         0.35
       9/10/2022 Earnings ‐ YouTube   $         0.07
       9/11/2022 Earnings ‐ YouTube   $         0.49
       9/11/2022 Earnings ‐ YouTube   $         0.15
       9/12/2022 Earnings ‐ YouTube   $         0.42
       9/12/2022 Earnings ‐ YouTube   $         0.15
       9/13/2022 Earnings ‐ YouTube   $         0.41
       9/13/2022 Earnings ‐ YouTube   $         0.23
       9/14/2022 Earnings ‐ YouTube   $         0.21
       9/14/2022 Earnings ‐ YouTube   $         0.06
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                                      7
                               Revenue for August 2, 2022 Video URL
                                 (yYb5ZdzKG00.YouTube.Revenue)
Date             Description          Amount (USD)
       9/15/2022 Earnings ‐ YouTube   $         0.10
       9/15/2022 Earnings ‐ YouTube   $         0.11
       9/16/2022 Earnings ‐ YouTube   $         0.20
       9/16/2022 Earnings ‐ YouTube   $         0.03
       9/17/2022 Earnings ‐ YouTube   $         0.09
       9/17/2022 Earnings ‐ YouTube   $         0.02
       9/18/2022 Earnings ‐ YouTube   $         0.19
       9/18/2022 Earnings ‐ YouTube   $         0.05
       9/19/2022 Earnings ‐ YouTube   $         0.07
       9/19/2022 Earnings ‐ YouTube   $         0.02
       9/20/2022 Earnings ‐ YouTube   $         0.05
       9/20/2022 Earnings ‐ YouTube   $         0.06
       9/21/2022 Earnings ‐ YouTube   $         0.23
       9/21/2022 Earnings ‐ YouTube   $         0.02
       9/22/2022 Earnings ‐ YouTube   $         0.05
       9/22/2022 Earnings ‐ YouTube   $         0.08
       9/23/2022 Earnings ‐ YouTube   $         0.11
       9/23/2022 Earnings ‐ YouTube   $         0.02
       9/24/2022 Earnings ‐ YouTube   $         0.04
       9/24/2022 Earnings ‐ YouTube   $         0.00
       9/25/2022 Earnings ‐ YouTube   $         0.12
       9/25/2022 Earnings ‐ YouTube   $         0.02
       9/26/2022 Earnings ‐ YouTube   $         0.07
       9/26/2022 Earnings ‐ YouTube   $         0.01
       9/27/2022 Earnings ‐ YouTube   $         0.12
       9/27/2022 Earnings ‐ YouTube   $         0.01
       9/28/2022 Earnings ‐ YouTube   $         0.11
       9/28/2022 Earnings ‐ YouTube   $         0.04
       9/29/2022 Earnings ‐ YouTube   $         0.10
       9/30/2022 Earnings ‐ YouTube   $         0.11
       9/30/2022 Earnings ‐ YouTube   $         0.01
       10/1/2022 Earnings ‐ YouTube   $         0.09
       10/1/2022 Earnings ‐ YouTube   $         0.00
       10/2/2022 Earnings ‐ YouTube   $         0.01
       10/2/2022 Earnings ‐ YouTube   $         0.03
       10/2/2022 Earnings ‐ YouTube   $        14.68
       10/3/2022 Earnings ‐ YouTube   $         0.19
       10/3/2022 Earnings ‐ YouTube   $         0.01
       10/4/2022 Earnings ‐ YouTube   $         0.11
       10/4/2022 Earnings ‐ YouTube   $         0.08
       10/5/2022 Earnings ‐ YouTube   $         0.10
       10/5/2022 Earnings ‐ YouTube   $         0.00
       10/6/2022 Earnings ‐ YouTube   $         0.16
       10/6/2022 Earnings ‐ YouTube   $         0.13
       10/7/2022 Earnings ‐ YouTube   $         0.48
       10/7/2022 Earnings ‐ YouTube   $         0.18
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                                      7
                                Revenue for August 2, 2022 Video URL
                                  (yYb5ZdzKG00.YouTube.Revenue)
Date              Description          Amount (USD)
        10/8/2022 Earnings ‐ YouTube   $         0.17
        10/8/2022 Earnings ‐ YouTube   $         0.14
        10/9/2022 Earnings ‐ YouTube   $         0.24
        10/9/2022 Earnings ‐ YouTube   $         0.17
       10/10/2022 Earnings ‐ YouTube   $         0.67
       10/10/2022 Earnings ‐ YouTube   $         0.12
       10/11/2022 Earnings ‐ YouTube   $         0.35
       10/12/2022 Earnings ‐ YouTube   $         0.26
       10/13/2022 Earnings ‐ YouTube   $         0.27
       10/13/2022 Earnings ‐ YouTube   $         0.05
       10/14/2022 Earnings ‐ YouTube   $         0.32
       10/14/2022 Earnings ‐ YouTube   $         0.04
       10/15/2022 Earnings ‐ YouTube   $         0.21
       10/15/2022 Earnings ‐ YouTube   $         0.03
       10/16/2022 Earnings ‐ YouTube   $         0.08
       10/16/2022 Earnings ‐ YouTube   $         0.09
       10/17/2022 Earnings ‐ YouTube   $         0.37
       10/17/2022 Earnings ‐ YouTube   $         0.11
       10/18/2022 Earnings ‐ YouTube   $         0.28
       10/18/2022 Earnings ‐ YouTube   $         0.03
       10/19/2022 Earnings ‐ YouTube   $         0.23
       10/19/2022 Earnings ‐ YouTube   $         0.20
       10/20/2022 Earnings ‐ YouTube   $         0.17
       10/20/2022 Earnings ‐ YouTube   $         0.11
       10/21/2022 Earnings ‐ YouTube   $         0.19
       10/21/2022 Earnings ‐ YouTube   $         0.07
       10/22/2022 Earnings ‐ YouTube   $         0.19
       10/22/2022 Earnings ‐ YouTube   $         0.14
       10/23/2022 Earnings ‐ YouTube   $         0.18
       10/23/2022 Earnings ‐ YouTube   $         0.00
       10/24/2022 Earnings ‐ YouTube   $         0.19
       10/24/2022 Earnings ‐ YouTube   $         0.03
       10/25/2022 Earnings ‐ YouTube   $         0.21
       10/25/2022 Earnings ‐ YouTube   $         0.00
       10/26/2022 Earnings ‐ YouTube   $         0.10
       10/27/2022 Earnings ‐ YouTube   $         0.16
       10/27/2022 Earnings ‐ YouTube   $         0.02
       10/28/2022 Earnings ‐ YouTube   $         0.16
       10/28/2022 Earnings ‐ YouTube   $         0.12
       10/29/2022 Earnings ‐ YouTube   $         0.06
       10/29/2022 Earnings ‐ YouTube   $         0.01
       10/30/2022 Earnings ‐ YouTube   $         0.06
       10/31/2022 Earnings ‐ YouTube   $         0.08
       10/31/2022 Earnings ‐ YouTube   $         0.07
        11/1/2022 Earnings ‐ YouTube   $         0.08
        11/1/2022 Earnings ‐ YouTube   $         0.03
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                                      7
                                Revenue for August 2, 2022 Video URL
                                  (yYb5ZdzKG00.YouTube.Revenue)
Date              Description          Amount (USD)
        11/2/2022 Earnings ‐ YouTube   $         0.18
        11/2/2022 Earnings ‐ YouTube   $         0.02
        11/2/2022 Earnings ‐ YouTube   $        12.63
        11/3/2022 Earnings ‐ YouTube   $         0.06
        11/3/2022 Earnings ‐ YouTube   $         0.01
        11/4/2022 Earnings ‐ YouTube   $         0.13
        11/4/2022 Earnings ‐ YouTube   $         0.00
        11/5/2022 Earnings ‐ YouTube   $         0.08
        11/6/2022 Earnings ‐ YouTube   $         0.34
        11/6/2022 Earnings ‐ YouTube   $         0.05
        11/7/2022 Earnings ‐ YouTube   $         0.05
        11/7/2022 Earnings ‐ YouTube   $         0.02
        11/8/2022 Earnings ‐ YouTube   $         0.11
        11/8/2022 Earnings ‐ YouTube   $         0.00
        11/9/2022 Earnings ‐ YouTube   $         0.17
        11/9/2022 Earnings ‐ YouTube   $         0.04
       11/10/2022 Earnings ‐ YouTube   $         0.10
       11/10/2022 Earnings ‐ YouTube   $         0.03
       11/11/2022 Earnings ‐ YouTube   $         0.02
       11/11/2022 Earnings ‐ YouTube   $         0.00
       11/12/2022 Earnings ‐ YouTube   $         0.11
       11/12/2022 Earnings ‐ YouTube   $         0.02
       11/13/2022 Earnings ‐ YouTube   $         0.19
       11/13/2022 Earnings ‐ YouTube   $         0.17
       11/14/2022 Earnings ‐ YouTube   $         0.56
       11/14/2022 Earnings ‐ YouTube   $         0.04
       11/15/2022 Earnings ‐ YouTube   $         0.06
       11/15/2022 Earnings ‐ YouTube   $         0.00
       11/16/2022 Earnings ‐ YouTube   $         0.04
       11/16/2022 Earnings ‐ YouTube   $         0.01
       11/17/2022 Earnings ‐ YouTube   $         0.37
       11/17/2022 Earnings ‐ YouTube   $         0.06
       11/18/2022 Earnings ‐ YouTube   $         0.14
       11/19/2022 Earnings ‐ YouTube   $         0.03
       11/19/2022 Earnings ‐ YouTube   $         0.00
       11/20/2022 Earnings ‐ YouTube   $         0.07
       11/20/2022 Earnings ‐ YouTube   $         0.02
       11/21/2022 Earnings ‐ YouTube   $         0.30
       11/21/2022 Earnings ‐ YouTube   $         0.02
       11/22/2022 Earnings ‐ YouTube   $         0.26
       11/22/2022 Earnings ‐ YouTube   $         0.02
       11/23/2022 Earnings ‐ YouTube   $         0.20
       11/23/2022 Earnings ‐ YouTube   $         0.07
       11/24/2022 Earnings ‐ YouTube   $         0.42
       11/24/2022 Earnings ‐ YouTube   $         0.02
       11/25/2022 Earnings ‐ YouTube   $         0.22
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                                      7
                                Revenue for August 2, 2022 Video URL
                                  (yYb5ZdzKG00.YouTube.Revenue)
Date              Description          Amount (USD)
       11/25/2022 Earnings ‐ YouTube   $         0.16
       11/26/2022 Earnings ‐ YouTube   $         0.07
       11/26/2022 Earnings ‐ YouTube   $         0.00
       11/27/2022 Earnings ‐ YouTube   $         0.36
       11/27/2022 Earnings ‐ YouTube   $         0.09
       11/28/2022 Earnings ‐ YouTube   $         0.14
       11/28/2022 Earnings ‐ YouTube   $         0.08
       11/29/2022 Earnings ‐ YouTube   $         0.08
       11/29/2022 Earnings ‐ YouTube   $         0.05
       11/30/2022 Earnings ‐ YouTube   $         0.11
       11/30/2022 Earnings ‐ YouTube   $         0.08
        12/1/2022 Earnings ‐ YouTube   $         0.09
        12/1/2022 Earnings ‐ YouTube   $         0.04
        12/2/2022 Earnings ‐ YouTube   $         0.04
        12/2/2022 Earnings ‐ YouTube   $         0.04
        12/2/2022 Earnings ‐ YouTube   $        12.76
                  Total                $       707.28
